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          13              Cuomo Prime Time 11-22 - clip

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00:00:00   1                 CHRIS CUOMO:    And it gets even more

00:00:04   2    wild.   Look at this.    This look?    Boy, is he sick

00:00:06   3    of hearing it, scratching the bicepial and

00:00:09   4    everything.    That became the poster for Republican

00:00:12   5    disgust at the flow of testimony that POTUS and

00:00:14   6    pals were out for dirt on the Bidens.        Man, Nunes

00:00:18   7    couldn’t stand it.     He was disgusted by it.

00:00:20   8    Couldn’t contain it.     But he sure could contain

00:00:23   9    his knowledge about those efforts.        We have new

00:00:26   10   reporting that Mr. Nunes allegedly knew a lot more

00:00:30   11   than he was letting on.      A lot more.    Our in-house

00:00:34   12   investigator on the case, Vicky Ward, next.

           13                [COMMERCIALS]

00:05:04   14                CHRIS CUOMO:    All right.    This is very

00:05:06   15   important.    We all saw how ardently Republican

00:05:09   16   Congressman Devin Nunes defended the President

00:05:12   17   during the impeachment hearings, pivoting and

00:05:15   18   pointing to the Bidens.

00:05:19   19                DEVIN NUNES:    No conspiracy theory is

00:05:20   20   too outlandish for the Democrats.         You would think

00:05:24   21   they would take some interest in Burisma.         And you

00:05:26   22   think they would be interested in Joe Biden.         We

00:05:28   23   need to subpoena Hunter Biden.       I think one of the

00:05:30   24   mothers of all conspiracy theories is that somehow

00:05:34   25   the President of the United States would want a


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00:05:36   1    country that he doesn’t even like, he doesn’t want

00:05:38   2    to give foreign aid to, to have the Ukrainians

00:05:42   3    start an investigation into Bidens.

00:05:45   4               CHRIS CUOMO:    Now, remember what he just

00:05:48   5    said, okay?   That he cannot accept the idea that

00:05:51   6    the President would want Ukraine to be looking

00:05:53   7    into the Bidens.    Why would he cast so much doubt

00:05:58   8    on an idea that POTUS had it out for the Bidens

00:06:01   9    and was trying to use Ukraine to do it, when he is

00:06:05   10   now allegedly a part of those efforts?

00:06:09   11              Let’s bring in Vicky Ward right now.

00:06:11   12   She’s got the reporting.      Now, let’s be very

00:06:13   13   clear.   We understand from Mr. Lev Parnas’ lawyer,

00:06:20   14   the man under indictment for doing certain things

00:06:23   15   with campaigns allegedly, also working with Rudy

00:06:25   16   Giuliani, maybe paying Rudy Giuliani for certain

00:06:28   17   other things.    His lawyer, what does he say?

00:06:31   18              VICKY WARD:    So his lawyer says that Lev

00:06:34   19   Parnas would like to come and speak to Congress --

00:06:37   20              CHRIS CUOMO:    Mm hmm.

00:06:37   21              VICKY WARD:    -- and that he would say to

00:06:39   22   Congress, were he given the opportunity, that last

00:06:43   23   December, Devin Nunes, the Senior Republican

00:06:47   24   presiding over the impeachment hearings, went to

00:06:50   25   Vienna and met with Viktor Shokin.


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00:06:54   1                CHRIS CUOMO:    Viktor Shokin, the person

00:06:56   2    who was the prosecutor for Ukraine, that Ukraine

00:06:59   3    and everybody in the United States wanted out for

00:07:02   4    not investigating corruption?

00:07:04   5                VICKY WARD:    Correct.   And who was fired

00:07:06   6    in 2016 under pressure by many Western leaders,

00:07:12   7    including our then-Vice President, Joe Biden.           He

00:07:16   8    has an axe to grind against the Bidens.        Viktor

00:07:18   9    Shokin is the man who has claimed to have dirt on

00:07:23   10   Joe and Hunter Biden.      He has claimed to have

00:07:26   11   evidence that Ukraine meddled in our elections.

00:07:28   12               CHRIS CUOMO:    Reportedly met with Rudy

00:07:30   13   Giuliani, Mr. Shokin?

00:07:31   14               VICKY WARD:    He’s -- absolutely.     So

00:07:32   15   Shokin --

00:07:32   16               CHRIS CUOMO:    Rudy Giuliani wanted to

00:07:33   17   get him a pass to come to the United States, and

00:07:35   18   it was denied.

00:07:36   19               VICKY WARD:    Absolutely correct.

00:07:37   20               CHRIS CUOMO:    All right.   So next big

00:07:38   21   question: how do we know that Nunes met with

00:07:42   22   Shokin?

00:07:43   23               VICKY WARD:    So it gets interesting.       So

00:07:44   24   Shokin tells Lev Parnas, Rudy Giuliani’s associate

00:07:50   25   who’s Ukraine-born, and what’s interesting is that


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00:07:53   1    Nunes comes back and tries to recruit Lev Parnas.

00:07:57   2    He does recruit Lev Parnas to merge his effort,

00:08:01   3    his and Rudy Giuliani’s investigations, with his.

00:08:05   4    He has an aide meet with Lev Parnas, and they

00:08:10   5    discuss how to reach out to various Ukraine

00:08:14   6    prosecutors who might have information on the

00:08:17   7    Bidens.

00:08:17   8                 CHRIS CUOMO:   All right.   So hold on a

00:08:18   9    second.   This is a lot.     So Devin Nunes, who’s at

00:08:22   10   the hearing, and -- I’m sorry, but I’m learning

00:08:25   11   this from you.

00:08:25   12                VICKY WARD:    Yeah, yeah, yeah, yeah.

00:08:25   13                CHRIS CUOMO:   You know, this is new

00:08:26   14   reporting.    Devin Nunes at the hearing saying,

00:08:29   15   this is crazy that the President would want

00:08:31   16   Ukraine to look at the Bidens.       The prosecutor who

00:08:34   17   was the one at the center of all the controversy -

00:08:36   18   -

00:08:36   19                VICKY WARD:    Right.

00:08:36   20                CHRIS CUOMO:   -- met with Nunes in

00:08:38   21   Vienna --

00:08:38   22                VICKY WARD:    Right.

00:08:39   23                CHRIS CUOMO:   -- last December.     So

00:08:40   24   before all this other stuff that they’re saying

00:08:43   25   was just about one phone call.


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00:08:43   1               VICKY WARD:    Way before.

00:08:44   2               CHRIS CUOMO:    Months before.     Shokin

00:08:46   3    then tells Parnas, the shady guy at the center --

00:08:48   4               VICKY WARD:    Right.

00:08:49   5               CHRIS CUOMO:    -- of all this, and then

00:08:51   6    Nunes’ staffer meets with Parnas?

00:08:55   7               VICKY WARD:    But so does Nunes.      Nunes

00:08:57   8    meets with Parnas.     Nunes speaks to Parnas --

00:08:59   9               CHRIS CUOMO:    About dirt on the Bidens?

00:09:01   10              VICKY WARD:    -- several times.     Yes.

00:09:03   11   They’re asked to merge operations essentially.         So

00:09:05   12   in other words, you know, this whole impeachment,

00:09:08   13   Chris, is about a shadow foreign policy --

00:09:12   14              CHRIS CUOMO:    Right.

00:09:13   15              VICKY WARD:    -- that Devin Nunes appears

00:09:14   16   to have, and some involvement in.

00:09:16   17              CHRIS CUOMO:    So he knew it was going

00:09:18   18   on.

00:09:18   19              VICKY WARD:    So --

00:09:18   20              CHRIS CUOMO:    He knew they were looking

00:09:19   21   for dirt on the Bidens.

00:09:19   22              VICKY WARD:    Right.    He is a drama in

00:09:22   23   the -- in this play himself, and he -- and yet he

00:09:25   24   has not told anyone about this.

00:09:27   25              CHRIS CUOMO:    All right.    So sourcing


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00:09:29   1    becomes everything.     This comes from Parnas’

00:09:31   2    lawyer, all right?

00:09:32   3               VICKY WARD:    Right.

00:09:33   4               CHRIS CUOMO:    That this is what Parnas

00:09:33   5    wants to testify to.

00:09:35   6               VICKY WARD:    Yes.

00:09:35   7               CHRIS CUOMO:    So now, you got to reach

00:09:36   8    out to the parties.     You got to go to Nunes.      What

00:09:39   9    does Nunes say?

00:09:40   10              VICKY WARD:    Right.    I’m going to -- so

00:09:41   11   we’ve been trying to actually get in front of

00:09:43   12   Nunes in person.

00:09:44   13              CHRIS CUOMO:    Mm hmm.

00:09:45   14              VICKY WARD:    Two of my colleagues went

00:09:47   15   to see him on the Hill, and --

00:09:48   16              CHRIS CUOMO:    Did they gave him

00:09:49   17   information about why?

00:09:50   18              VICKY WARD:    They absolutely did, and

00:09:52   19   this is Nunes -- exact word for word what Nunes

00:09:54   20   said.   “To be perfectly clear, I don’t acknowledge

00:09:57   21   any questions from you in this lifetime or the

00:10:00   22   next lifetime.”

00:10:01   23              CHRIS CUOMO:    “To be perfectly clear, I

00:10:03   24   don’t acknowledge any questions from you in this

00:10:06   25   lifetime or the next lifetime.”       Knowing how


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00:10:09   1    central this consideration is to what’s going on

00:10:13   2    in the impeachment right now, he won’t even say

00:10:16   3    it’s not true?

00:10:17   4                VICKY WARD:    Right.

00:10:17   5                CHRIS CUOMO:   All right.    Now, Viktor

00:10:19   6    Shokin, okay?

00:10:19   7                VICKY WARD:    Yes.

00:10:21   8                CHRIS CUOMO:   What is the chance of

00:10:22   9    getting to him on this?     Because obviously he can

00:10:24   10   confirm or deny also.

00:10:26   11               VICKY WARD:    Well, I -- you know, I have

00:10:27   12   his phone number.    So I’ve texted him.      I’ve got

00:10:30   13   to him.    We’ve reached out to him.     He’s not

00:10:32   14   talking.

00:10:33   15               CHRIS CUOMO:   So everyone’s getting a

00:10:33   16   chance to respond.     They know what the story is.

00:10:35   17   They know what the allegations are.

00:10:36   18               VICKY WARD:    Right.

00:10:37   19               CHRIS CUOMO:   And we’re hanging this on

00:10:39   20   Parnas’ lawyer.    So theoretically, Parnas would

00:10:41   21   say the same thing, but you’re just hearing it

00:10:43   22   from his lawyer?

00:10:43   23               VICKY WARD:    Correct.

00:10:45   24               CHRIS CUOMO:   Parnas wants to testify,

00:10:46   25   and the lawyer is saying this is what it would be


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00:10:48   1    about.

00:10:48   2               VICKY WARD:    And he has, by the way,

00:10:49   3    actually been subpoenaed.

00:10:50   4               CHRIS CUOMO:    Right.   So --

00:10:52   5               VICKY WARD:    But there’s an issue,

00:10:53   6    Chris, remember, because he’s under indictment by

00:10:56   7    the Southern District, so his lawyer would like

00:10:58   8    him to be given essentially immunity to speak

00:11:01   9    freely.

00:11:02   10              CHRIS CUOMO:    Well, all right.     Let’s

00:11:03   11   think this through.    You’ve been thinking about

00:11:04   12   this a lot --

00:11:04   13              VICKY WARD:    Yeah.

00:11:04   14              CHRIS CUOMO:    -- I know with your team.

00:11:06   15   Why would Nunes say it is preposterous -- or

00:11:09   16   whatever word he used, ludicrous, something bad --

00:11:11   17   to think that the President would want Ukraine to

00:11:14   18   look into the Bidens, when evidentially he knew

00:11:18   19   Rudy was looking into the Bidens, and he was

00:11:19   20   trying to get Ukrainians to do it, right?

00:11:21   21              VICKY WARD:    Right.    Right, right,

00:11:21   22   right, right.

00:11:22   23              CHRIS CUOMO:    Parnas and Fruman are

00:11:24   24   Americans, but they’re Ukrainian-born, right?

00:11:26   25              VICKY WARD:    Yes, yes, yes.


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00:11:27   1                CHRIS CUOMO:    And then he -- don’t --

00:11:28   2    shouldn’t he have disclosed --

00:11:29   3                VICKY WARD:    Well --

00:11:29   4                CHRIS CUOMO:    -- that he went over to

00:11:31   5    Vienna --

00:11:31   6                VICKY WARD:    -- I think -- I think --

00:11:31   7                CHRIS CUOMO:    -- Austria to meet with

00:11:32   8    Shokin?

00:11:33   9                VICKY WARD:    Well, what’s so intriguing,

00:11:36   10   for want of a better word, about his whole trip

00:11:39   11   was the timing of it.      And in fact his aide, Derek

00:11:43   12   Harvey, told Lev Parnas that the timing of it was

00:11:47   13   very deliberate.    It was done right after the

00:11:50   14   Republicans lost the House in the midterms, but

00:11:53   15   before the Democrats took over --

00:11:56   16               CHRIS CUOMO:    Why?

00:11:56   17               VICKY WARD:    -- in January.   Because

00:11:57   18   once the Democrats took over, he would have had ex

00:12:00   19   -- he would have had to disclose the details of

00:12:02   20   it.   So this is why nobody has known, until now,

00:12:07   21   what Devin Nunes was doing last December, or --

00:12:11   22   the only thing -- the --

00:12:12   23               CHRIS CUOMO:    So we don’t know that the

00:12:13   24   committee was told about his actions?

00:12:15   25               VICKY WARD:    No.   The only thing that’s


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00:12:17   1    reported in the Congressional record is that he

00:12:20   2    and Derek Harvey and two other aides went to

00:12:22   3    Europe.

00:12:23   4                 CHRIS CUOMO:    But they don’t say who

00:12:23   5    they met with?

00:12:24   6                 VICKY WARD:    No.   And this was quite

00:12:25   7    deliberate, according to my reporting, according

00:12:29   8    to the lawyer speaking for Parnas.       Derek Harvey,

00:12:34   9    the aide, told Parnas that the timing was done

00:12:37   10   deliberately to keep it undercover.

00:12:40   11                CHRIS CUOMO:    Vicky Ward, thank you for

00:12:42   12   the reporting.     Thank you for working it.      Look,

00:12:44   13   we want it fair.    Mr. Shokin, if you’re listening,

00:12:47   14   tell us what happened.      Mr. Nunes, this is about

00:12:49   15   the truth.    Come on and tell us what happened.

00:12:52   16   Don’t say you’re not going to answer the

00:12:53   17   questions.    You have to.    That’s your position.

00:12:55   18   Vicky Ward, thank you so much.

00:12:57   19                VICKY WARD:    Thank you, Chris.

00:12:57   20                CHRIS CUOMO:    Appreciate it.    Have a

00:12:58   21   very good weekend.

00:12:59   22                VICKY WARD:    And you.

00:13:00   23                CHRIS CUOMO:    This is -- cannot make it

00:13:02   24   up.   All right.   We are going to pick this up with

00:13:04   25   a Democrat who was vice chair of one of the


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00:13:06   1    impeachment committees, but resigned amid a probe

00:13:09   2    of her in Congress.    Katie Hill.     Still fighting

00:13:13   3    back against what she calls a coordinated smear

00:13:16   4    campaign to get her out.      But one smear campaign

00:13:20   5    at a time.    We have to deal with what we just

00:13:22   6    learned from Vicky Ward, what we learned about in

00:13:24   7    the Inspector General Report, and what is the

00:13:26   8    future for former Congresswoman Hill, all next.

           9                 [COMMERCIALS]

00:17:11   10                CHRIS CUOMO:    All right.   There’s a lot

00:17:12   11   of news tonight.    This President is soon to be

00:17:15   12   confronted with a DOJ Inspector General Report

00:17:18   13   that is going to make the idea that the Russia

00:17:20   14   probe was a witch-hunt just something that can’t

00:17:22   15   be said with any truth to it anymore.

00:17:24   16                And then this big report from Vicky Ward

00:17:27   17   coming from the lawyer of this guy, Lev Parnas,

00:17:29   18   one of these indicted associates of Giuliani, that

00:17:34   19   Devin Nunes reportedly met with this former

00:17:38   20   Ukraine prosecutor at the center of all the Biden

00:17:40   21   scandal.    Let’s bring in former Democratic

00:17:43   22   Congresswoman Katie Hill of California.        Welcome

00:17:47   23   back to Prime Time.

00:17:48   24                KATIE HILL:    Hi, how are you?

00:17:49   25                CHRIS CUOMO:    Can you believe this --


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00:17:51   1    help me understand this Vicky Ward reporting.

00:17:54   2    Devin Nunes -- I guess being chairman you don’t

00:17:56   3    have to tell people what you’re going, but putting

00:18:00   4    in the record, I’m going to Vienna with a couple

00:18:01   5    of staffers, and you know you’re investigating all

00:18:04   6    this Ukraine stuff, and you don’t mention that you

00:18:06   7    met with the guy at the center of the whole

00:18:08   8    situation?

00:18:09   9                 KATIE HILL:    Well, look, the timing is

00:18:10   10   very, very clear.    He did this right after the

00:18:13   11   Democrats won the House --

00:18:14   12                CHRIS CUOMO:   Right.

00:18:14   13                KATIE HILL:    -- and before they took

00:18:16   14   control --

00:18:16   15                CHRIS CUOMO:   Right.

00:18:16   16                KATIE HILL:    -- so he could get away

00:18:17   17   with this.    You know, I think what this shows

00:18:20   18   clearer than anything is that you do not have an

00:18:23   19   unbiased, you know, set of Republicans who are

00:18:28   20   involved in deciding when this is --

00:18:28   21                CHRIS CUOMO:   But he had to know that we

00:18:30   22   were going to find out.      It’s not like these

00:18:31   23   players are exactly, you know, lock lipped, you

00:18:34   24   know, these guys that we’re dealing with.        And he

00:18:37   25   sat in the hearings, Katie, I don’t know how much


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00:18:39   1    of him you saw, but --

00:18:39   2              KATIE HILL:     Oh, yeah.

00:18:40   3              CHRIS CUOMO:     Every time they'd bring up

00:18:41   4    the President wanted Ukraine to get dirt on the

00:18:43   5    Bidens, he was, oh, man.     I can’t believe.     And he

00:18:46   6    even said, I can’t believe, you know, and in some

00:18:50   7    words, that you guys would think this was

00:18:52   8    possible, when he knew damn well that he was

00:18:54   9    trying to --

00:18:54   10             KATIE HILL:     He was doing it.

00:18:54   11             CHRIS CUOMO:     Unless Parnas’ lawyer --

00:18:54   12             KATIE HILL:     Yeah.

00:18:56   13             CHRIS CUOMO:     -- is lying --

00:18:56   14             KATIE HILL:     No.

00:18:57   15             CHRIS CUOMO:     -- because Shokin hasn’t

00:18:57   16   confirmed it yet, and Nunes says he won’t answer

00:18:59   17   any questions.

00:18:59   18             KATIE HILL:     No.

00:18:59   19             CHRIS CUOMO:     But that Giuliani was

00:19:01   20   trying to do it, and he was trying to loop in Lev

00:19:04   21   Parnas with Giuliani’s efforts with his staff to

00:19:07   22   try to get dirt on the Bidens.

00:19:08   23             KATIE HILL:     Look, I don’t know if he

00:19:09   24   thought he would never get found out, but you know

00:19:11   25   he is going to deny it until the day he dies.


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00:19:14   1    Either way, he’s going to spin it as if this is a

00:19:16   2    witch-hunt on him now too.       So, you know, I don’t

00:19:18   3    think that this is going to change their story

00:19:20   4    regardless.

00:19:21   5              It’s just -- it -- what -- this is where

00:19:23   6    we’re at, unfortunately, with Republicans right

00:19:26   7    now, is that there is zero shame in lying, just

00:19:29   8    straight up lying constantly.       And, you know, I --

00:19:32   9    we saw that throughout the entire set of hearings.

00:19:34   10   We saw that with what he’s doing now --

00:19:37   11             CHRIS CUOMO:     Mm.

00:19:37   12             KATIE HILL:     -- and we’re going to

00:19:38   13   continue to see that, so we have to make sure that

00:19:40   14   the American people have the facts, and hopefully

00:19:43   15   people are able to look into their own souls and

00:19:45   16   figure out what’s true and what’s not.

00:19:46   17             CHRIS CUOMO:     Right.    I mean, you know,

00:19:48   18   my one pushback is, this group of Republicans.

00:19:51   19             KATIE HILL:     Oh, 100 percent. And you

00:19:52   20   know what, my dad’s a Republican.

00:19:52   21             CHRIS CUOMO:     You know, I mean, because

00:19:53   22   you know, I’m sure we both know -- yeah.

00:19:53   23             KATIE HILL:     Yeah.    No.

00:19:53   24             CHRIS CUOMO:     Yeah.    I got a lot of

00:19:54   25   Republicans in my life --


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00:19:54   1                 KATIE HILL:    No, no, no.

00:19:55   2                 CHRIS CUOMO:   -- and they do not go for

00:19:56   3    this stuff.

00:19:57   4                 KATIE HILL:    No.

00:19:57   5                 CHRIS CUOMO:   They were --

00:19:57   6                 KATIE HILL:    No, this is completely

00:19:58   7    different.

00:19:58   8                 CHRIS CUOMO:   -- the party of -- they

00:19:59   9    used to come after you guys.

00:20:00   10                KATIE HILL:    Oh, yeah.

00:20:00   11                CHRIS CUOMO:   You don’t respect

00:20:01   12   institutions enough --

00:20:02   13                KATIE HILL:    National security.

00:20:02   14                CHRIS CUOMO:   -- you don’t respect the

00:20:03   15   government enough.

00:20:04   16                KATIE HILL:    This is the thing that I --

00:20:05   17   we used to be -- I -- you know, and I still do

00:20:07   18   separate myself from a fair amount of Democrats

00:20:09   19   on.   I am very, very strong when it comes to

00:20:11   20   national security.

00:20:11   21                CHRIS CUOMO:   Mm.

00:20:12   22                KATIE HILL:    I come from a defense

00:20:12   23   background.    My family, you know, my brother’s

00:20:15   24   currently serving in the Navy, and that’s my

00:20:17   25   District.    But we -- you know, that’s what


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00:20:19   1    Republicans used to be, right?

00:20:19   2                 CHRIS CUOMO:   Mm.

00:20:21   3                 KATIE HILL:    That’s -- that was the

00:20:22   4    entire thing, was how are we --

00:20:23   5                 CHRIS CUOMO:   Right.

00:20:23   6                 KATIE HILL:    -- standing up to things

00:20:25   7    like our, you know, our national security when it

00:20:27   8    comes to Russia.

00:20:27   9                 CHRIS CUOMO:   Yeah, like Russia.

00:20:27   10                KATIE HILL:    Yeah.

00:20:27   11                CHRIS CUOMO:   So they say the Russia

00:20:28   12   probe’s a hoax.    Now we have reporting that says

00:20:31   13   the Inspector General’s Report is come out, is

00:20:33   14   going to say, look, a low-level guy messed with

00:20:34   15   Carter Page’s FISA application.       We believe the

00:20:37   16   report says didn’t change the fundamental accuracy

00:20:39   17   of it.   I showed everybody how thick those things

00:20:40   18   are, and what one document does or doesn’t mean in

00:20:43   19   it.   But it supposedly concludes no hoax, you

00:20:47   20   know, not a witch-hunt, that this was done with

00:20:49   21   integrity.

00:20:49   22                KATIE HILL:    Mm hmm.

00:20:50   23                CHRIS CUOMO:   What does that mean

00:20:51   24   ultimately?    Does it kill the Russia didn’t

00:20:54   25   interfere BS once and for all, or you think you’ll


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00:20:57   1    still hear it?

00:20:57   2                KATIE HILL:    I think you’re going to

00:20:58   3    continue to hear it.      I really do.

00:20:59   4                CHRIS CUOMO:    We heard it from the

00:20:57   5    President today.

00:21:00   6                KATIE HILL:    Yeah.

00:20:59   7                CHRIS CUOMO:    That was a stupid

00:21:00   8    question.

00:21:00   9                KATIE HILL:    No, I mean, I think you’re

00:21:01   10   going to continue to hear it.      I don’t think -- I

00:21:03   11   think one thing that the Republicans, again, this

00:21:06   12   group of Republicans in Washington --

00:21:07   13               CHRIS CUOMO:    Mm.

00:21:07   14               KATIE HILL:    -- that have aligned

00:21:08   15   themselves with the President do not care about

00:21:10   16   the truth, and they think that their best strategy

00:21:13   17   is to just look Americans directly in the eye --

00:21:16   18               CHRIS CUOMO:    Mm.

00:21:16   19               KATIE HILL:    -- and tell them bold-faced

00:21:18   20   lies, and hope that they convince them.        I mean,

00:21:20   21   it’s gas lighting, plain and simple.

00:21:21   22               CHRIS CUOMO:    Well, I’ll tell you what.

00:21:22   23   They don’t even need to do it.      Because they can

00:21:23   24   admit that what the President did was wrong, he

00:21:25   25   shouldn’t have done it this way, he shouldn’t have


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00:21:27   1    involved Rudy Giuliani, he should have gone to the

00:21:29   2    DOJ if he wanted the Biden’s investigator, or did

00:21:32   3    what Lindsey Graham is doing now, and they can

00:21:34   4    still make a good-faith argument about this not

00:21:37   5    being worthy of removal.     Let me ask you

00:21:38   6    something, strategically --

00:21:38   7                KATIE HILL:    I don’t know about good

00:21:39   8    faith, but --

00:21:40   9                CHRIS CUOMO:   Well, I mean, you can say

00:21:41   10   it just doesn’t rise to the level for me because -

00:21:43   11   -

00:21:43   12               KATIE HILL:    If it doesn’t, then what

00:21:44   13   does?   Is there ever going to be something that

00:21:46   14   they think that Congress should use its power of

00:21:49   15   impeachment on?    If this isn’t it, then what on

00:21:51   16   earth is?

00:21:51   17               CHRIS CUOMO:   Mm.

00:21:52   18               KATIE HILL:    Whether you’re a Democrat

00:21:53   19   or a Republican in the White House, there has to

00:21:55   20   be some kind of a line, and I -- I mean, are you

00:21:58   21   telling me that what Bill Clinton did is

00:22:00   22   impeachable to Republicans but this is not?        I

00:22:03   23   just don’t believe it.     I don’t buy that this is

00:22:04   24   something even for a second that they truly

00:22:07   25   believe is not an impeachable offense.        They’re


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00:22:09   1    just full of it.

00:22:09   2                CHRIS CUOMO:   In a Republican they

00:22:10   3    don’t.

00:22:10   4                KATIE HILL:    Yeah.    No.

00:22:10   5                CHRIS CUOMO:   Look, the best argument

00:22:11   6    they have is that when the Democrats argue, hey,

00:22:13   7    look, you don’t get to walk away just because you

00:22:15   8    fail at the crime you attempt.       That’s true.

00:22:17   9                KATIE HILL:    Right.

00:22:17   10               CHRIS CUOMO:   You shoot at me and you

00:22:18   11   miss.    You don’t get to go home.

00:22:18   12               KATIE HILL:    Yeah.

00:22:19   13               CHRIS CUOMO:   But you don’t get the

00:22:19   14   death penalty either.

00:22:20   15               KATIE HILL:    No.

00:22:20   16               CHRIS CUOMO:   And I think that that’s

00:22:21   17   going to be the argument you guys have.        Do you

00:22:23   18   think the Democrats should continue -- should

00:22:26   19   consider a deal to shorten this process when you

00:22:30   20   know you’re not going to get removal?

00:22:31   21               KATIE HILL:    No.   I don’t think so at

00:22:32   22   all.    I think what we have to show in the House is

00:22:34   23   that there are people who have been elected, just

00:22:37   24   like happened in 2018, who are going to ensure

00:22:40   25   accountability.    That’s why you have a House of


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00:22:42   1    Representatives that turned over because now Nunes

00:22:45   2    is not the chairman.       Adam Schiff is.

00:22:47   3                 CHRIS CUOMO:    Mm.

00:22:47   4                 KATIE HILL:    And what I think we have to

00:22:48   5    show is that the Senate is full of those same

00:22:51   6    Republicans who are going to continue to let Trump

00:22:53   7    or any other President that they feel like

00:22:55   8    benefits them politically --

00:22:57   9                 CHRIS CUOMO:    Right.

00:22:57   10                KATIE HILL:    -- do whatever they want.

00:22:58   11   So you need to get people in -- with an actual

00:23:00   12   integrity in the Senate and in charge as well.

00:23:02   13                CHRIS CUOMO:    All right.    You got a good

00:23:03   14   head about everybody else.         Let’s talk about you

00:23:05   15   now.   Do you have any second thoughts about

00:23:09   16   resigning?

00:23:09   17                KATIE HILL:    I mean, listen, it was the

00:23:09   18   toughest decision I’ve ever made.         I know that it

00:23:12   19   was the right one for, you know, for my family,

00:23:14   20   for myself, for my staff.      I think -- I even think

00:23:17   21   that -- I would hate to think that I was giving

00:23:21   22   them any kind of ammunition to distract from

00:23:24   23   what’s been going on these last few weeks, and the

00:23:25   24   fact that I was not there made them not have that

00:23:29   25   opportunity.    So I feel like it was the right


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00:23:31   1    move, but no, it’s absolutely something that is,

00:23:34   2    you know -- it’s (indiscernible).

00:23:34   3                CHRIS CUOMO:   Well, but you cost the

00:23:35   4    Party, you cost your own opportunity, and also it

00:23:37   5    wound up becoming a flash point in terms of, well,

00:23:41   6    where are we in terms of appropriate conduct and

00:23:44   7    not, and what we enforce and what we inform.

00:23:46   8    Alyssa Milano, who you know very well --

00:23:48   9                KATIE HILL:    Mm.

00:23:48   10               CHRIS CUOMO:   -- is very strong on

00:23:50   11   accountability on what has come under the umbrella

00:23:53   12   of Me Too, but just really about decency in

00:23:55   13   humanity.

00:23:55   14               KATIE HILL:    Yep.

00:23:56   15               CHRIS CUOMO:   Here’s what she said about

00:23:56   16   you.

00:23:59   17               ALYSSA MILANO:   I don’t feel it was the

00:24:00   18   right move.   I feel that there is incredible

00:24:04   19   hypocrisy that goes on, and if Katie Hill were a

00:24:06   20   man who was in a consensual relationship with

00:24:11   21   another man and a woman that this would be a very

00:24:14   22   different outcome.

00:24:16   23               CHRIS CUOMO:   So of course she’s

00:24:18   24   supporting you, but she’s saying that you are

00:24:20   25   giving cover to people who make the wrong


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00:24:22   1    decisions, because this is not the way it would

00:24:25   2    have gone if it were a man.       So you’re basically

00:24:28   3    reinforcing the wrong dynamic.        You should have

00:24:30   4    stayed and fought.

00:24:31   5                 KATIE HILL:    Oh, no.   I don’t think it’s

00:24:32   6    reinforcing it.    If anything, it’s saying that

00:24:34   7    this is what the standard should be, right?

00:24:35   8                 CHRIS CUOMO:   Mm.

00:24:35   9                 KATIE HILL:    And this is the standard

00:24:36   10   that we should hold everybody to.       I think what I

00:24:38   11   have to do now is figure out what my next move is

00:24:40   12   to ensure that the lessons that are learned from

00:24:43   13   what happened to me are not ones that we -- that

00:24:45   14   can be repeated.    So, you know, cyber exploitation

00:24:48   15   is something that is relatively new.

00:24:50   16                It has not been touched on a federal

00:24:53   17   level in terms of laws that are going to address

00:24:55   18   the issue.    It’s one that I heard over and over

00:24:57   19   again from young women that I just -- I -- even at

00:24:59   20   that point, I didn’t even fully understand.        But I

00:25:02   21   think it’s something that we’re going to have to

00:25:03   22   take on in a meaningful way, and that I hope that

00:25:06   23   my own experiences can lend to that effort.

00:25:08   24                CHRIS CUOMO:   Will you run again?

00:25:10   25                KATIE HILL:    You know, I’m not writing


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00:25:11   1    anything off.    I’m not running anytime soon.       I

00:25:13   2    can tell you that much.      And I’m supporting the

00:25:15   3    person who is running to replace me, Christy

00:25:17   4    Smith, without everything that I’ve got.

00:25:19   5                 CHRIS CUOMO:    But politics, could it

00:25:21   6    still very well be in your future, you’re not

00:25:22   7    giving me a no.

00:25:23   8                 KATIE HILL:    I’m not giving you a no.

00:25:25   9                 CHRIS CUOMO:    All right.   Katie Hill,

00:25:26   10   it’s good to have you back.      I appreciate you

00:25:28   11   talking about all these things, and about your own

00:25:29   12   situation.

00:25:30   13                KATIE HILL:    Thank you.

00:25:30   14                CHRIS CUOMO:    I know it’s sensitive, but

00:25:31   15   it’s important for people to process why you did

00:25:33   16   it and what it means.       It’s an ongoing dialogue.

00:25:35   17                KATIE HILL:    Absolutely.   Thanks so much

00:25:36   18   for having me.

00:25:37   19                CHRIS CUOMO:    Best to you.   I’ll see you

00:25:38   20   again soon.

00:25:38   21                KATIE HILL:    You too.

00:25:39   22                CHRIS CUOMO:    All right.   So our

00:25:40   23   President loves to decry anything he doesn’t like

00:25:43   24   as fake news.    In fact, he’s at it again.        And his

00:25:46   25   pals in Congress are happy to help him, but don’t


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00:25:49   1    miss our argument on this Friday night.        And also,

00:25:53   2    don’t miss a special CNN report, All The

00:25:56   3    President’s Lies, that airs Sunday at 9:00 p.m.

00:25:59   4    Eastern.    I’ll see you back here in a second.

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          1                   C E R T I F I C A T I O N

          2

          3    I, Sonya Ledanski Hyde, certify that the foregoing

          4    transcript is a true and accurate record of the

          5    proceedings.

          6

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          8

          9    __________________________________

          10

          11   Veritext Legal Solutions

          12   330 Old Country Road

          13   Suite 300

          14   Mineola, NY 11501

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